Case 20-10383-RG   Doc 11-1 Filed 01/24/20 Entered 01/24/20 12:52:29   Desc
                         Certification Page 1 of 8
Case 20-10383-RG   Doc 11-1 Filed 01/24/20 Entered 01/24/20 12:52:29   Desc
                         Certification Page 2 of 8
Case 20-10383-RG   Doc 11-1 Filed 01/24/20 Entered 01/24/20 12:52:29   Desc
                         Certification Page 3 of 8
Case 20-10383-RG   Doc 11-1 Filed 01/24/20 Entered 01/24/20 12:52:29   Desc
                         Certification Page 4 of 8
Case 20-10383-RG   Doc 11-1 Filed 01/24/20 Entered 01/24/20 12:52:29   Desc
                         Certification Page 5 of 8
Case 20-10383-RG   Doc 11-1 Filed 01/24/20 Entered 01/24/20 12:52:29   Desc
                         Certification Page 6 of 8
Case 20-10383-RG   Doc 11-1 Filed 01/24/20 Entered 01/24/20 12:52:29   Desc
                         Certification Page 7 of 8




                                                          February 18, 2020
Case 20-10383-RG   Doc 11-1 Filed 01/24/20 Entered 01/24/20 12:52:29   Desc
                         Certification Page 8 of 8
